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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


 WILLIAM JOHNSON, et al.,

         Plaintiffs,
                                                        Case No. 2:17-cv-124
 v.
                                                        HONORABLE PAUL L. MALONEY
 ROBERT GORDON,

         Defendant.
 ____________________________/


                           ORDER FOR JOINT STATUS REPORT

       The Court has reviewed the joint status report submitted by the parties on March 22, 2021

(ECF No. 97). The parties shall file an updated joint status report detailing the status of this matter

by April 30, 2021.

       IT IS SO ORDERED.



Dated: March 23, 2021                                           /s/ Paul L. Maloney
                                                               Paul L. Maloney
                                                               United States District Judge
